944 F.2d 901
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert HOLLEY, Petitioner-Appellant,v.Mason WATERS, Attorney General of the State of Maryland,Respondents-Appellees.
    No. 91-7151.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 9, 1991.Decided Sept. 24, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Joseph C. Howard, District Judge.  (CA-91-335-JH)
      Robert Holley, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Richard Bruce Rosenblatt, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before DONALD RUSSELL, MURNAGHAN and WILKINSON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Robert Holley seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Holley v. Waters, CA-91-335-JH (D.Md. June 25, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    